 Case 1:19-cv-00040-JAW Document 1 Filed 01/23/19 Page 1 of 16                        PageID #: 1




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE
                                                   CIVIL ACTION NO:
U.S. Bank National Association, as trustee,
on behalf of the holders of the Asset Backed
Securities Corporation Home Equity Loan
Trust, Series AMQ 2006-HE7 Asset Backed
Pass-Through Certificates, Series AMQ
2006-HE7


               Plaintiff                           COMPLAINT


                       vs.                         RE:
                                                   1716 Stillwater Avenue, Bangor, ME 04401


John Richard McAvoy, as Personal                   Mortgage:
Representative of the Estate of Francis P.         April 26, 2006
McAvoy                                             Book 10413, Page 193


               Defendant




       NOW COMES the Plaintiff, U.S. Bank National Association, as trustee, on behalf of the

holders of the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-

HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, by and through its attorneys,

Doonan, Graves & Longoria, LLC, and hereby complains against the Defendant, John Richard

McAvoy, as Personal Representative of the Estate of Francis P. McAvoy, as follows:

                              JURISDICTION AND VENUE

   1. This Court has jurisdiction over this action pursuant 28 U.S.C. § 1332(a)(1) (Diversity)

       because the Plaintiff and Defendants are citizens of different states and the matter in

       controversy exceeds the sum or value of seventy-five thousand and 00/100 ($75,000.00)

       dollars, exclusive of interest and costs. Any Court of the United States, upon the filing of
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    an appropriate pleading, may declare the rights and other legal relations of any interested

    party seeking such declaration, whether or not further relief is or could be sought under 28

    U.S.C. § 2201.

 2. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) because the

    object of this litigation is a Note executed under seal currently owned and held by U.S. Bank

    National Association, as trustee, on behalf of the holders of the Asset Backed Securities

    Corporation Home Equity Loan Trust, Series AMQ 2006-HE7 Asset Backed Pass-Through

    Certificates, Series AMQ 2006-HE7, in which the Defendant, John Richard McAvoy, as

    Personal Representative of the Estate of Francis P. McAvoy, is the obligor and the total

    amount owed under the terms of the Note is One Hundred Forty-Eight Thousand Two

    Hundred Ninety-Three and 42/100 ($148,293.42) Dollars, plus attorney fees and costs

    associated with the instant action; thus, the amount in controversy exceeds the jurisdictional

    threshold of seventy-five thousand ($75,000.00) dollars.

 3. Venue is properly exercised pursuant to 28 U.S.C. §1391(b)(2) insofar as all or a substantial
    portion of the events that give rise to the Plaintiff ’s claims transpired in Maine and the

    property is located in Maine.

                                          PARTIES

 4. U.S. Bank National Association, as trustee, on behalf of the holders of the Asset Backed

    Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7 Asset Backed

    Pass-Through Certificates, Series AMQ 2006-HE7 is a national association with its principal

    place of business located at 1270 Northland Drive, Mendota, MN 55120.
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 5. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis
    P. McAvoy, is a resident of Kenduskeag, County of Penobscot and State of Maine; however,

    as Personal Representative, John Richard McAvoy has no personal liability.

                                           FACTS

 6. On June 19, 2001, by virtue of a Warranty Deed from Hazel Stillings, which is recorded in

    the Penobscot County Registry of Deeds in Book 7767, Page 61, the property situated at

    1716 Stillwater Avenue, County of Penobscot, and State of Maine, was conveyed to Francis

    P. McAvoy, being more particularly described by the attached legal description. See Exhibit A

    (a true and correct copy of the legal description is attached hereto and incorporated herein).

 7. On April 26, 2006, Francis P. McAvoy executed and delivered to Ameriquest Mortgage

    Company a certain Note in the amount of $139,650.00. See Exhibit B (a true and correct

    copy of the Affidavit of Lost Note is attached hereto and incorporated herein).

 8. To secure said Note, on April 26, 2006, the Francis P. McAvoy executed a Mortgage Deed in

    favor of Ameriquest Mortgage Company, securing the property located at 1716 Stillwater

    Avenue, Bangor, ME 04401 which Mortgage Deed is recorded in the Penobscot County

    Registry of Deeds in Book 10413, Page 193. See Exhibit C (a true and correct copy of the

    Mortgage is attached hereto and incorporated herein).

 9. The Mortgage was then assigned to U.S. Bank National Association, as trustee, on behalf of

    the holders of the Asset Backed Securities Corporation Home Equity Loan Trust, Series

    AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7 by virtue

    of an Assignment of Mortgage dated May 17, 2006 and recorded in the Penobscot County

    Registry of Deeds in Book 14498, Page 1. See Exhibit D (a true and correct copy of the

    Assignment of Mortgage is attached hereto and incorporated herein).

 10. On September 21, 2016, Francis P. McAvoy passed away.
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 11. On October 4, 2016, John Richard McAvoy was appointed as Personal Representative of the

    Estate of Francis P. McAvoy by the State of Maine Probate Court Docket No. 2016-770,

    and, as such, has no personal liability in this matter.

 12. On March 21, 2018, the Defendant, John Richard McAvoy, as Personal Representative of the

    Estate of Francis P. McAvoy, was sent a Notice of Mortgagor's Right to Cure, as evidenced

    by the Certificate of Mailing (herein after referred to as the “Demand Letter”). See Exhibit

    E (a true and correct copy of the Demand Letter is attached hereto and incorporated

    herein).

 13. The Demand Letter informed the Defendant, John Richard McAvoy, as Personal

    Representative of the Estate of Francis P. McAvoy, of the payment due date, the total

    amount necessary to cure the default, and the deadline by which the default must be cured,

    which was thirty-five (35) days from receipt of the Demand Letter. See Exhibit E.

 14. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

    P. McAvoy, failed to cure the default prior to the expiration of the Demand Letter.

 15. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

    Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, cannot locate the original

    Note; however, the Plaintiff is the owner of the Note referenced herein pursuant to delivery

    by the previous holder and is the entity entitled to enforce the terms and conditions of the

    aforesaid Note in conformity with 11 M.R.S. § 3-1201, et seq., 10 M.R.S. § 9416, and

    Simansky v. Clark, 147 A. 205, 128 Me. 280 (1929).

 16. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

    Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7
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     Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is the lawful holder and

     owner of the Note and Mortgage.

 17. The total debt owed under the Note and Mortgage as of February 8, 2019 is One Hundred

     Forty-Eight Thousand Two Hundred Ninety-Three and 42/100 ($148,293.42) Dollars,

     which includes:

                       Description                               Amount
     Principal Balance                                                       $118,802.67
     Interest                                                                  $18,682.63
     Late Fees                                                                     $94.08
     Escrow Advance                                                             $4,926.32
     Recoverable Balance                                                        $5,721.30
     Interest on Advance                                                           $66.42
     Grand Total                                                             $148,293.42


 18. Upon information and belief, the Defendant, John Richard McAvoy, as Personal
     Representative of the Estate of Francis P. McAvoy, is presently in possession of the subject

     property originally secured by the Mortgage.

                               COUNT I – FORECLOSURE

 19. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

     Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

     Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, repeats and re-alleges

     paragraphs 1 through 18 as if fully set forth herein.

 20. This is an action for foreclosure respecting a real estate related Mortgage and title located at

     1716 Stillwater Avenue, Bangor, County of Penobscot, and State of Maine. See Exhibit A.

 21. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

     Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7
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    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, cannot locate the original

    Note referenced in Paragraph 7; however, the Plaintiff is the owner of the Note referenced

    herein pursuant to delivery by the previous holder and is the entity entitled to enforce the

    terms and conditions of the aforesaid Note in conformity with Title 11, section 3-1201, et

    seq. of the Maine Revised Statutes and Simansky v. Clark, 147 A. 205, 128 Me. 280 (1929).

    As such, Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of

    the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, has the right to foreclosure

    upon the subject property.

 22. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

    Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is the current owner and

    investor of the aforesaid Mortgage and Note.

 23. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

    P. McAvoy, is presently in default on said Mortgage and Note, having failed to make the

    monthly payment due December 1, 2016, and all subsequent payments, and, therefore, has

    breached the condition of the aforesaid Mortgage and Note, but has no personal liability for

    said breach.

 24. The total debt owed under the Note and Mortgage as of February 8, 2019 is One Hundred

    Forty-Eight Thousand Two Hundred Ninety-Three and 42/100 ($148,293.42) Dollars,

    which includes:

                      Description                               Amount
     Principal Balance                                                     $118,802.67
     Interest                                                               $18,682.63
     Late Fees                                                                   $94.08
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     Escrow Advance                                                             $4,926.32
     Recoverable Balance                                                        $5,721.30
     Interest on Advance                                                          $66.42
     Grand Total                                                           $148,293.42


 25. The record established through the Penobscot County Registry of Deeds indicates that there

    are no public utility easements recorded subsequent to the Mortgage and prior to the

    commencement of these proceedings affecting the mortgaged premises at issue herein.

 26. By virtue of the Defendant’s breach of condition, the Plaintiff hereby demands a

    foreclosure on said real estate.

 27. Notice in conformity with 14 M.R.S.A. §6111 was sent to the Defendant, John Richard

    McAvoy, as Personal Representative of the Estate of Francis P. McAvoy, on March 21, 2018,

    evidenced by the Certificate of Mailing.. See Exhibit E.

 28. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis
    P. McAvoy, is not in the Military as evidenced by the attached Exhibit F.

                           COUNT II – BREACH OF NOTE

 29. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

    Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, repeats and re-alleges

    paragraphs 1 through 28 as if fully set forth herein.

 30. On April 26, 2006, Francis P. McAvoy executed and delivered to Ameriquest Mortgage

    Company a certain Note in the amount of $139,650.00. See Exhibit B.

 31. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

    P. McAvoy, is in default for failure to properly tender the December 1, 2016 payment and all

    subsequent payments. See Exhibit E.
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 32. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

    Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is the proper holder of the

    Note and is entitled to enforce the terms and conditions of the Note due to its breach by

    the Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis P.

    McAvoy.

 33. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

    P. McAvoy, having failed to comply with the terms of the Note and Mortgage, is in breach

    of both the Note and the Mortgage.

 34. The Defendant’s, John Richard McAvoy, as Personal Representative of the Estate of Francis

    P. McAvoy, breach is knowing, willful, and continuing.

 35. The Defendant’s, John Richard McAvoy, as Personal Representative of the Estate of Francis

    P. McAvoy, breach has caused Plaintiff U.S. Bank National Association, as trustee, on behalf

    of the holders of the Asset Backed Securities Corporation Home Equity Loan Trust, Series

    AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7 to suffer

    actual damages, including, but not limited to money lent, interest, expectancy damages, as

    well as attorney's fees and costs.

 36. The total debt owed under the Note and Mortgage as of February 8, 2019, if no payments

    are made, is One Hundred Forty-Eight Thousand Two Hundred Ninety-Three and 42/100

    ($148,293.42) Dollars, which includes:

                    Description                                 Amount
     Principal Balance                                                     $118,802.67
     Interest                                                               $18,682.63
     Late Fees                                                                   $94.08
     Escrow Advance                                                           $4,926.32
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     Recoverable Balance                                                      $5,721.30
     Interest on Advance                                                         $66.42
     Grand Total                                                           $148,293.42


 37. Injustice can only be avoided by awarding damages for the total amount owed under the
    Note including interest, plus costs and expenses, including attorney fees.

 COUNT III – BREACH OF CONTRACT, MONEY HAD AND RECEIVED

 38. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

    Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, repeats and re-alleges

    paragraphs 1 through 37 as if fully set forth herein.

 39. By executing, under seal, and delivering the Note, Francis P. McAvoy entered into a written

    contract with Ameriquest Mortgage Company who agreed to loan the amount of

    $139,650.00 to Francis P. McAvoy. See Exhibit B.

 40. As part of this contract and transaction, Francis P. McAvoy executed the Mortgage to secure

    the Note and the subject property. See Exhibit C.

 41. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

    Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

    Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is the proper holder of the

    Note and successor-in-interest to Ameriquest Mortgage Company, and has performed its

    obligations under the Note and Mortgage.

 42. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

    P. McAvoy, breached the terms of the Note and Mortgage by failing to properly tender the

    December 1, 2016 payment and all subsequent payments. See Exhibit E.
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  43. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

     Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

     Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is the proper holder of the

     Note, and is entitled to enforce the terms and conditions of the Note due to its breach by

     the Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis P.

     McAvoy.

  44. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

     P. McAvoy, having failed to comply with the terms of the Note and Mortgage, is in breach

     of contract, but has no personal liability hereunder.

  45. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

     P. McAvoy, is indebted to U.S. Bank National Association, as trustee, on behalf of the

     holders of the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ

     2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7 in the sum of

     One Hundred Forty-Eight Thousand Two Hundred Ninety-Three and 42/100 ($148,293.42)

     Dollars, for money lent by the Plaintiff, U.S. Bank National Association, as trustee, on behalf

     of the holders of the Asset Backed Securities Corporation Home Equity Loan Trust, Series

     AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, to

     Francis P. McAvoy.

  46. The Defendant’s, John Richard McAvoy, as Personal Representative of the Estate of Francis

     P. McAvoy, breach is knowing, willful, and continuing.

  47. The Defendant’s, John Richard McAvoy, as Personal Representative of the Estate of Francis

     P. McAvoy, breach has caused Plaintiff, U.S. Bank National Association, as trustee, on behalf

     of the holders of the Asset Backed Securities Corporation Home Equity Loan Trust, Series

     AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, to suffer
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     actual damages, including, but not limited to money lent, interest, expectancy damages, as

     well as attorney's fees and costs.

  48. The total debt owed under the Note and Mortgage as of February 8, 2019, if no payments

     are made, is One Hundred Forty-Eight Thousand Two Hundred Ninety-Three and 42/100

     ($148,293.42) Dollars, which includes:

                     Description                                 Amount
      Principal Balance                                                     $118,802.67
      Interest                                                               $18,682.63
      Late Fees                                                                   $94.08
      Escrow Advance                                                           $4,926.32
      Recoverable Balance                                                      $5,721.30
      Interest on Advance                                                         $66.42
      Grand Total                                                           $148,293.42


  49. Injustice can only be avoided by awarding damages for the total amount owed under the
     Note and Mortgage, and for money had and received, including interest, plus costs and

     expenses, including attorney fees.

                          COUNT IV – QUANTUM MERUIT

  50. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

     Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

     Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, repeats and re-alleges

     paragraphs 1 through 49 as if fully set forth herein.

  51. Ameriquest Mortgage Company, predecessor-in-interest to U.S. Bank National Association,

     as trustee, on behalf of the holders of the Asset Backed Securities Corporation Home

     Equity Loan Trust, Series AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series

     AMQ 2006-HE7, loaned Francis P. McAvoy $139,650.00. See Exhibit B.
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  52. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

     P. McAvoy, is in default for failure to properly tender the December 1, 2016 payment and all

     subsequent payments. See Exhibit E.

  53. As a result of the Defendant’s failure to perform under the terms of the loan obligation, the

     Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis P.

     McAvoy, should be required to compensate the Plaintiff, U.S. Bank National Association, as

     trustee, on behalf of the holders of the Asset Backed Securities Corporation Home Equity

     Loan Trust, Series AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ

     2006-HE7.

  54. As such, the Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders
     of the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-

     HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is entitled to relief

     under the doctrine of quantum meruit.

                         COUNT V –UNJUST ENRICHMENT

  55. The Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders of the

     Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7

     Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, repeats and re-alleges

     paragraphs 1 through 54 as if fully set forth herein.

  56. Ameriquest Mortgage Company, predecessor-in-interest to U.S. Bank National Association,

     as trustee, on behalf of the holders of the Asset Backed Securities Corporation Home

     Equity Loan Trust, Series AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series

     AMQ 2006-HE7, loaned Francis P. McAvoy $139,650.00. See Exhibit B.

  57. The Defendant, John Richard McAvoy, as Personal Representative of the Estate of Francis

     P. McAvoy, has failed to repay the loan obligation.
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   58. As a result, the Defendant, John Richard McAvoy, as Personal Representative of the Estate

       of Francis P. McAvoy, has been unjustly enriched to the detriment of the Plaintiff, U.S. Bank

       National Association, as trustee, on behalf of the holders of the Asset Backed Securities

       Corporation Home Equity Loan Trust, Series AMQ 2006-HE7 Asset Backed Pass-Through

       Certificates, Series AMQ 2006-HE7 as successor-in-interest to Ameriquest Mortgage

       Company by having received the aforesaid benefits and money and not repaying said

       benefits and money.

   59. As such, the Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders
       of the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-

       HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is entitled to relief.

                                   PRAYERS FOR RELIEF

WHEREFORE, the Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders

of the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7 Asset

Backed Pass-Through Certificates, Series AMQ 2006-HE7, prays this Honorable Court:

   a) Issue a judgment of foreclosure in conformity with Title 14 § 6322;

   b) Grant possession to the Plaintiff, U.S. Bank National Association, as trustee, on behalf of

       the holders of the Asset Backed Securities Corporation Home Equity Loan Trust, Series

       AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, upon the

       expiration of the period of redemption;

   c) Find that the Defendant, John Richard McAvoy, as Personal Representative of the Estate of

       Francis P. McAvoy, is in breach of the Note by failing to make payment due as of December

       1, 2016, and all subsequent payments, but has no personal liability;
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  d) Find that the Defendant, John Richard McAvoy, as Personal Representative of the Estate of

     Francis P. McAvoy, is in breach of the Mortgage by failing to make payment due as of

     December 1, 2016, and all subsequent payments, but has no personal liability;

  e) Find that Francis P. McAvoy entered into a contract for a sum certain in exchange for a

     security interest in the subject property;

  f) Find that the Defendant, John Richard McAvoy, as Personal Representative of the Estate of

     Francis P. McAvoy, is in breach of contract by failing to comply with the terms and

     conditions of the Note and Mortgage by failing to make the payment due December 1,

     2016 and all subsequent payments, but has no personal liability;

  g) Find that the Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders

     of the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-

     HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is entitled to enforce

     the terms and conditions of the Note and Mortgage;

  h) Find that by virtue of the money retained by the Defendant, John Richard McAvoy, as

     Personal Representative of the Estate of Francis P. McAvoy, has been unjustly enriched at

     the Plaintiff ’s expense;

  i) Find that such unjust enrichment entitles the Plaintiff, U.S. Bank National Association, as

     trustee, on behalf of the holders of the Asset Backed Securities Corporation Home Equity

     Loan Trust, Series AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ

     2006-HE7, to restitution;

  j) Find that the Defendant, John Richard McAvoy, as Personal Representative of the Estate of

     Francis P. McAvoy, is liable to the Plaintiff, U.S. Bank National Association, as trustee, on

     behalf of the holders of the Asset Backed Securities Corporation Home Equity Loan Trust,
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     Series AMQ 2006-HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, for

     money had and received;

  k) Find that the Defendant, John Richard McAvoy, as Personal Representative of the Estate of

     Francis P. McAvoy, is liable to the Plaintiff for quantum meruit;

  l) Find that the Defendant, John Richard McAvoy, as Personal Representative of the Estate of

     Francis P. McAvoy, has appreciated and retained the benefit of the Mortgage and the subject

     property;

  m) Find that it would be inequitable for the Defendant, John Richard McAvoy, as Personal

     Representative of the Estate of Francis P. McAvoy, to continue to appreciate and retain the

     benefit of the Mortgage, Note and subject property without recompensing the appropriate

     value;

  n) Find that the Plaintiff, U.S. Bank National Association, as trustee, on behalf of the holders

     of the Asset Backed Securities Corporation Home Equity Loan Trust, Series AMQ 2006-

     HE7 Asset Backed Pass-Through Certificates, Series AMQ 2006-HE7, is entitled to

     restitution for this benefit from the Defendant, John Richard McAvoy, as Personal

     Representative of the Estate of Francis P. McAvoy;

  o) Determine the amount due on said Mortgage and Note, including principal, interest,

     reasonable attorney’s fees and court costs;
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   p) Additionally, issue a money judgment against the Defendant, John Richard McAvoy, as

       Personal Representative of the Estate of Francis P. McAvoy, and in favor of the Plaintiff,

       U.S. Bank National Association, as trustee, on behalf of the holders of the Asset Backed

       Securities Corporation Home Equity Loan Trust, Series AMQ 2006-HE7 Asset Backed

       Pass-Through Certificates, Series AMQ 2006-HE7, in the amount of One Hundred Forty-

       Eight Thousand Two Hundred Ninety-Three and 42/100 ($148,293.42 Dollars, the total

       debt owed under the Note plus interest and costs including attorney’s fees and costs;

   q) For such other and further relief as this Honorable Court deems just and equitable.



                                                     Respectfully Submitted,
                                                     U.S. Bank National Association, as trustee, on
                                                     behalf of the holders of the Asset Backed
                                                     Securities Corporation Home Equity Loan
                                                     Trust, Series AMQ 2006-HE7 Asset Backed
                                                     Pass-Through Certificates, Series AMQ 2006-
                                                     HE7,
                                                     By its attorneys,

Dated: January 23, 2019
                                                     /s/ John A. Doonan, Esq.
                                                     John A. Doonan, Esq., Bar No. 3250
                                                     Reneau J. Longoria, Esq., Bar No. 5746
                                                     Attorneys for Plaintiff
                                                     Doonan, Graves & Longoria, LLC
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                                                     Beverly, MA 01915
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